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FOR THE DISTRICT OF MARYLAND by _. eR SEG Coun

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UNITED STATES OF AMERICA % OEPYp,
¥. CRIMINAL NO. PWG-17-253
*
FRANCIS ARTHUR, a (Conspiracy to Commit Wire Fraud,
< 18 U.S.C. § 1349; Money Laundering
Defendant . Conspiracy, 18 U.S.C. § 1956(h);
* Money Laundering, 18 U.S.C.
. § 1956(a)(1)(A)@) and (B)(G);
* Forfeiture, 18 U.S.C. § 982, 21 U.S.C.
* § 853, 28 U.S.C. § 2461(c))

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SECOND SUPERSEDING INDICTMENT
(As to Defendant Francis Arthur Only)

COUNT ONE
(Wire Fraud Conspiracy)

The Grand Jury for the District of Maryland charges that:
At all times relevant to this Second Superseding Indictment:
Introduction

1. Defendant FRANCIS ARTHUR (“ARTHUR?”) was a resident of the State of
Maryland.

Lan Co-conspirators Gifty Amponsah, a/k/a “Sister” (“Amponsah”); Kelvin Asare,
a/k/a “Pedro Johnson” (“Asare”); Valerie Hughes (“Hughes”); and Samuel Attakora
(“Attakora”) were residents of the State of Maryland. Co-conspirator Kokou Azianbidji, a/k/a

“Chairman,” a/k/a “John” (“Azianbidji”) was a resident of the State of New York.
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3. Nymeo Federal Credit Union (““Nymeo”) was a financial institution within the
meaning of 18 U.S.C. § 20, and was insured by the United States government via the National
Credit Union Share Insurance Fund. Nymeo’s headquarters was located in Frederick, Maryland.

4, Anivac, Inc. (“Anivac”) was a Maryland company registered on October 31,
2016, and ARTHUR was Anivac’s registered agent. Anivac maintained bank accounts at Wells
Fargo Bank, N.A. (“Wells Fargo”), account number ending in x8245 (“Wells Fargo x8245”), and
SunTrust Bank, account number ending in x6559 (“SunTrust x6559”).

5. Fresh Start Support Services (“Fresh Start”) was a Maryland company registered
on October 31, 2016, and Amponsah was Fresh Start’s registered agent. Fresh Start maintained
a checking account at Wells Fargo, account number ending in x5892 (“Wells Fargo x5892”) and
a savings account at Wells Fargo, account number ending in x1126 (“Wells Fargo x1 126”).

6. Victim | and Victim 2 were residents of the State of Maryland who maintained
bank accounts at Nymeo.

7. Hughes was an employee at Nymeo in Maryland.

The Conspiracy and Scheme to Defraud

8. From in or around December 2016 through in or around April 2017, in the

District of Maryland and elsewhere, the defendant,

FRANCIS ARTHUR,
knowingly and willfully combined, conspired, confederated, and agreed with Amponsah, Asare,
Attakora, Azianbidji, Hughes, and with others, known and unknown to the Grand Jury, to
commit wire fraud, that is, to knowingly devise and intend to devise a scheme and artifice to
defraud victim apeontit holders at Nymeo, and to obtain money and property from the victim

account holders, by means of materially false and fraudulent pretenses, representations,
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promises, and material omissions (the “scheme to defraud”), and for the purpose of executing
and attempting to execute the scheme to defraud, to cause to be transmitted by means of wire
communication, in interstate and foreign commerce, any writings, signs, signals, pictures, and
sounds, in violation of 18 U.S.C. § 1343.

Manner and Means of the Conspiracy and Scheme to Defraud

It was part of the conspiracy and scheme to defraud that:

2. ARTHUR and his co-conspirators initiated and attempted to initiate fraudulent
financial transactions, including wire transfers and withdrawals, from the accounts of victims,
including Victim | and Victim 2, using counterfeit identification documents and stolen personal
identifying information.

10. Asare, Attakora, and other co-conspirators recruited an employee from a
financial institution to gain access to victims’ sensitive account and personal identifying
information, which were then used to perpetrate the fraud.

11. Amponsah, Asare, Attakora, and other co-conspirators discussed withdrawing
money from the victims’ accounts and distributing the stolen proceeds among the co-
conspirators.

12. Asare, Attakora, and other co-conspirators promised money to Hughes in
exchange for Hughes’s participation in the scheme.

13. Asare, Amponsah, and other co-conspirators recruited Azianbidji to impersonate
Victim 1, in person, at a physical branch of a financial institution in order to initiate and attempt

to initiate fraudulent financial transactions, including wire transfers and counter withdrawals.
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14, ARTHUR, Amponsah, Asare, and other co-conspirators created shell companies
with little or no legitimate business, including Anivac and Fresh Start, whose principal purpose
was to launder funds received as a result of the fraudulent scheme.

15. ARTHUR, Amponsah, and Azianbidji transferred the proceeds of the fraudulent
wire transfers to accounts held at various financial institutions in the name of shell companies
controlled by ARTHUR and Amponsah, including Anivac and Fresh Start.

16. After the stolen funds were deposited into Wells Fargo x8245 and Wells Fargo
x5892, ARTHUR, Amponsah, Asare, Attakora, and other co-conspirators issued and cashed
checks from the accounts of shell companies.

17. Asare and Attakora purchased automobiles for their own personal use, using
cashier’s checks drawn on the accounts of shell companies that had received fraudulent wire
transfers, including Wells Fargo x8245 and Wells Fargo x5892.

Overt Acts

18. In furtherance of the conspiracy and scheme to defraud, and to effect the objects
thereof, the defendant and others committed and caused to be committed the following overt
acts, among others, in the District of Maryland and elsewhere:

a. In or about February 2017, Amponsah, Attakora, and Asare discussed
recruiting Hughes to participate in the scheme to fraudulently obtain money belonging to Nymeo
customers by providing Attakora and others with account information belonging to Nymeo
customers.

B, In or about February 2017, Hughes searched the Nymeo customer
database and found accounts belonging to Victim | and Victim 2 to use to fraudulently withdraw

money, which Hughes subsequently provided to the co-conspirators.
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é. In or about February 2017, Asare reserved a room at the Hyatt Regency in
Atlanta, Georgia, under his pseudonym, “Pedro Johnson.”

d. On or about February 12, 2017, ARTHUR, Asare, and Attakora drove
together from Maryland to the vicinity of Atlanta, Georgia.

€. In or about February 2017, while in Georgia, ARTHUR, Asare, and
Attakora met with an individual who agreed to pose as Victim 2 at a branch of a Nymeo affiliate
in Atlanta.

i In or about February 2017, while in Georgia, in the presence of ARTHUR
and Attakora, Asare handed the individual-imposter a counterfeit identification card in the
name of Victim 2.

g. In or about February 2017, while in Georgia, ARTHUR, Asare,
Attakora, and the individual-impostor agreed to meet at a branch of the Nymeo affiliate in
Atlanta, but the impostor did not show up.

h. On or about February 14, 2017, ARTHUR, Asare, and Attakora drove
from Georgia to Maryland.

i. On or about February 24, 2017, Asare and Attakora drove Azianbidji to
the Gaithersburg, Maryland, branch of Nymeo, where Azianbidji presented Hughes with a
counterfeit State of Maryland driver’s license bearing the name of Victim | and a wire transfer
form requesting the transfer of $327,000 from a Nymeo bank account belonging to Victim | to
Wells Fargo x8245.

j. On or about February 24, 2017, using the wire transfer form and
counterfeit Maryland driver’s license provided by Azianbidji, Hughes initiated and authorized

the $327,000 wire transfer.
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k. On or about February 24, 2017, Azianbidji made a cash withdrawal of
$6,000 from the Nymeo bank account of Victim 1.

I. On or about February 25, 2017, ARTHUR and Asare traveled to a Wells
Fargo branch in Maryland and obtained two cashier’s checks in the amounts of $23,852.37 and
$60,247.63, both drawn on Wells Fargo x8245.

m. On or about February 25, 2017, at a Wells Fargo branch in Maryland,
ARTHUR and Asare withdrew $7,000 in cash and obtained an additional cashier’s check in the
amount of $34,000, while paying a $10 fee (for a total of $41,010) from Wells Fargo x8245.

n. On or about February 25, 2017, Attakora received the cashier’s check in
the amount of $23,852.37 drawn on Wells Fargo x8245 and used that cashier’s check to purchase
a white Mercedes Benz from a car dealership in Virginia.

O. On or about February 25, 2017, Asare received the cashier’s check in the
amount of $60,247.63 drawn on Wells Fargo x8245 and used that cashier’s check to purchase a
white Range Rover from a dealership in Virginia.

p. On or about February 25, 2017, ARTHUR and Asare transferred
$201,000 from Wells Fargo x8245 to Wells Fargo x5892, which was controlled by Amponsah.

q. On or about February 28, 2017, Amponsah issued a check to Attakora in
the amount of $7,000 drawn on Wells Fargo x5892.

r On or about March 1, 2017, Amponsah issued a check to Attakora in the
amount of $9,000 drawn on Wells Fargo x5892.

S. On or about March |, 2017, Amponsah issued a check to Anivac in the
amount of $20,000 drawn on Wells Fargo x5892, which ARTHUR attempted to deposit into

SunTrust x6559.
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t. On or about March 9, 2017, Asare and Attakora again drove Azianbidji
to the Gaithersburg, Maryland, branch of Nymeo where Azianbidji presented Hughes with an
$82,000 wire transfer request from the Nymeo bank account of Victim | to Wells Fargo x8245,
along with a counterfeit State of Maryland driver’s license bearing the name of Victim | and a
picture of Azianbidji.

u. On March 9, 2017, Hughes processed the $82,000 wire transfer request,

but it was not honored by Nymeo.

18 U.S.C. § 1349
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COUNT TWO
(Money Laundering Conspiracy)

The Grand Jury for the District of Maryland further charges that:

Ls Paragraphs | through 7 and 9 through 18 of Count One are incorporated here.

2. From a time unknown to the Grand Jury, but beginning at least in or about
February 2017 and continuing through in or around April 2017, in the District of Maryland and
elsewhere, the defendant,

FRANCIS ARTHUR,
did knowingly combine, conspire, and agree with Amponsah, Asare, Attakora, Azianbidji, and
other persons known and unknown to the Grand Jury to commit money laundering in violation of
18 U.S.C. § 1956, that is, to knowingly conduct and attempt to conduct a financial transaction
affecting interstate and foreign commerce, which involved the proceeds of specified unlawful
activity—that is, wire fraud, in violation of 18 U.S.C. § 1343—and while conducting and
attempting to conduct such financial transaction knew that the property involved in the financial
transaction represented the proceeds of some form of unlawful activity:
a. with the intent to promote the carrying on of specified unlawful activity, in
violation of 18 U.S.C. § 1956(a)(1)(A)(i); and
b. knowing that the transactions were designed in whole and in part to
conceal and disguise the nature, location, source, ownership, and control of the proceeds of said
specified unlawful activity, in violation of 18 U.S.C. § 1956(a)(1)(B)(i).
Manner and Means of the Money Laundering Conspiracy
It was part of the conspiracy that:
3. The defendant and his co-conspirators engaged in financial transactions whereby

the proceeds of wire fraud were delivered to the defendant and his co-conspirators with the intent
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that the defendant and his co-conspirators would transfer said proceeds by wire transfer to the
defendant and his co-conspirators, in ways designed to promote the carrying on or the specific
unlawful activity and in ways designed to conceal and disguise the nature, source, ownership,
and control of the proceeds.

4, The defendant and his co-conspirators transferred funds by wire, withdrew cash,
caused cashiers’ checks to be issued, and purchased motor vehicles to conceal funds that were

derived from wire fraud, and to facilitate the promotion of further wire fraud.

18 U.S.C. § 1956(h)
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COUNTS THREE THROUGH SEVEN
(Money Laundering)

The Grand Jury for the District of Maryland further charges that:

1. Paragraphs 1 through 7 and 9 through 18 of Count One are incorporated here.

2. On or about February 25, 2017, in the District of Maryland and elsewhere, the
defendant,

FRANCIS ARTHUR,

did knowingly conduct and attempt to conduct financial transactions affecting interstate and
foreign commerce, which in fact involved the proceeds of a specified unlawful activity—that is,
wire fraud, in violation of 18 U.S.C. § 1343—(a) with the intent to promote the carrying on of
the specified unlawful activity; and (b) knowing that the transactions were designed in whole and
in part to conceal and disguise the nature, location, source, ownership, and control of the
proceeds of specified unlawful activity: and that while conducting and attempting to conduct
such financial transactions knew that the property involved in the financial transactions

represented the proceeds of some form of unlawful activity:

 

 

 

 

 

 

 

 

 

Count Monetary Transaction
3 Cashier’s check in the amount of $23,852.37
from Wells Fargo x8245
4 Cashier’s check in the amount of $60,247.63
from Wells Fargo x8245
5 Cash withdrawal in the amount of $7,000 from
~ Wells Fargo x8245
6 Cashier’s check in the amount of $34,000 from
Wells Fargo x8245
" Wire transfer in the amount of $201,000 from
Wells Fargo x8245 to Wells Fargo x5892

 

18 U.S.C. § 1956(a)(1)(A)(i) and (B)(i)
18 U.S.C. §2

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FORFEITURE ALLEGATION

The Grand Jury for the District of Maryland further finds that:

1. Pursuant to Federal Rule of Criminal Procedure 32.2, notice is given to the
defendant that the United States will seek forfeiture as part of any sentence in accordance with
18 U.S.C. § 981(a)(1)(C), in the event of the defendant’s conviction on Counts One through
Seven of this Second Superseding Indictment.

Wire Fraud Forfeiture
De Upon conviction of the offense set forth in Count One of this Second Superseding
Indictment, the defendant,
FRANCIS ARTHUR,
shall forfeit to the United States, pursuant to 18 U.S.C. § 982(a)(2)(A) and 28 U.S.C § 2461(c),
any property, real and personal, which constitutes or is derived from proceeds traceable to such
offense, including but not limited to: at least $333,000 in United States currency.
Money Laundering Forfeiture
3. Upon conviction of the offenses set forth in Counts Two through Seven of this
Second Superseding Indictment, the defendant,
FRANCIS ARTHUR,
shall forfeit to the United States, pursuant to 18 U.S.C. § 982(a)(1), any property, real and
personal, involved in such offense, and any property traceable to such property.
Substitute Assets

4. If, as a result of any act or omission of the defendant, any of the property

described above as being subject to forfeiture:

a. cannot be located upon the exercise of due diligence;

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b. has been transferred or sold to, or deposited with, a third person;

om has been placed beyond the jurisdiction of the Court;

d. has been substantially diminished in value; or

é has been commingled with other property which cannot be divided

without difficulty,
it is the intent of the United States, pursuant to 21 U.S.C. § 853(p), as incorporated by 18 U.S.C.
§ 982(b)(1) and 28 U.S.C. § 2461(c), to seek forfeiture of any other property of the defendant up

to the value of the forfeitable property described above.

18 U.S.C. § 982
21 U.S.C. § 853(p)
28 U.S.C. § 2461(c)

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Jonathan F. Lenzner
Acting United States Attorney

A TRUE BILL:

SIGNATURE REDACTED

Foreper

Dated: September 8, 2021

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